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                                Case Number 01-18-0003-7337

                                      Veronica McCluskey

                                            Claimant

                                                v.

                                           Airbnb, Inc.

                                           Respondent

                                 PRE-HEARING ORDER NO. 1


        On January 30, 2019, the parties appeared before the undersigned Arbitrator by telephone
for a prehearing conference. Claimant appeared by Michael Mogan and Respondent appeared by
Jacqueline Young. After discussion between counsel and the Arbitrator and agreement of the
parties, and good cause appearing,

      IT IS HEREBY ORDERED:

      1. The parties shall meet and confer and cooperate in producing an agreed joint
         procedural stipulation which will be submitted to the AAA for onward transmission to the
         Arbitrator by February 15, 2019. That stipulation, with any necessary modifications by
         the Arbitrator (e.g. for grammar), shall be converted to a Prehearing Order.

      2. The joint procedural stipulation should include, among other things, (i) a statement of
         which depositions, if any, will be taken by each party and a schedule for those
         depositions if agreed by the time the statement is to be submitted, (ii) a date by which
         the parties will exchange documents and writings related to the claim, (iii) a description
         and schedule for interrogatories or any other form of discovery upon which the parties
         agree, and (iv) any other action that the parties intend to accomplish in order to enable
         a hearing date to be set. Any modifications to the stipulation or any modification of any
         dates provided in the stipulation will likely be approved if both parties so agree absent
         some substantial reason not to do so.

      3. The parties shall exchange their respective lists of percipient witnesses and submit that
         to the AAA by February 28, 2019. The parties shall exchange their respective lists of
         expert witnesses and submit that to the AAA by March 15, 2019. No witness who is not
         disclosed on a party s witness list, percipient or expert, shall be permitted to give
         evidence at the hearing unless permitted by the Arbitrator for good cause.
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    4. All prehearing discovery shall be completed by March 29, 2019 unless extended by the
       Arbitrator on application by one or both parties.


    5. Either party may at any time seek permission of the Arbitrator to make a prehearing
       dispositive motion by a written request to the Arbitrator via the AAA.

          A.     Such request must be clear as to the kind and scope of the proposed motion
                 as well as the reasons why permitting that motion are in the interests of
                 justice and consistent with the objectives of arbitration.

          B.     Dispositive motions that address the substantive merits of the claims or
                 defenses are generally not permitted absent agreement by the other party or
                 circumstances that in the opinion of the Arbitrator make such a motion
                 appropriate in this case.


          C.     The other party shall have ten days from such a request to oppose that
                 request. If the other party agrees affirmatively in writing that the motion can
                 be filed, it will be permitted. However, the absence of opposition (as opposed
                 to an affirmative agreement that the motion can be filed) will not necessarily
                 result in the granting of the request.


          D.     If there is opposition to the request to file a dispositive motion, the opposing
                 party should submit her or its opposition in writing within ten days of the
                 request. The request will be decided on the submissions without a hearing,
                 but a hearing will be held if both parties so request.


          E.     If the request to file a dispositive motion is granted, the Arbitrator shall issue
                 a briefing schedule and a proposed hearing date for a telephonic hearing on
                 the motion. The parties may by agreement alter the briefing schedule or the
                 hearing date or request an in-person hearing rather than a telephonic
                 hearing. Any such in-person hearing shall take place at the Arbitrator s office
                 or at any other place upon which the parties agree.

    6. Upon conclusion of prehearing discovery period set above or the denial of any
       dispositive motion, whichever is later, the parties and the Arbitrator shall conduct
       another prehearing telephonic conference to be arranged by the AAA at which a
       hearing date shall be set and any other order regarding the hearing shall be made.

    Dated: January 30, 2019




                                              ___________________________________
                                                 Alan R. Jampol, Arbitrator
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                              Case Number 01-18-0003-7337

                                   Veronica McCluskey

                                          Claimant

                                             v.

                                        Airbnb, Inc.

                                        Respondent

                              PRE-HEARING ORDER NO. 2


          Upon the stipulation of the parties to this matter and good cause appearing,

    IT IS HEREBY ORDERED:

    1. On or before March 7, 2019, the parties will exchange all documents or writings of
       which they are presently aware that they intend to rely on for any claim or defense.

       A. For this exchange and all other exchanges or service of papers in this matter, the
          parties agree to electronic service at the following email addresses: for Claimant,
          Michael Mogan at mm@michaelmogan.com and for Respondent, Michele Floyd at
          mfloyyd@srclaw.com and Jacqueline Young at jyoung@scrlaw.com.

       B. This initial exchange of documents will be supplemented, if applicable, by the
          earlier of fourteen business days after the close of all discovery, or twenty-one
          business days before the hearing.


       C. Documents not exchanged by the dates set herein shall not be received in
          evidence at the hearing absent a showing of good cause for the delay.

    2. Upon receipt of the initial exchange of documents as set forth in paragraph 1 above,
       the parties shall have thirty days to evaluate whether any additional written discovery
       is needed.

       A. Any written discovery requests shall be served on or before April 8, 2019.

       B. Such requests shall not exceed fifteen requests for production, fifteen
          interrogatories, and ten requests for admissions for each party.
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    3. The parties shall by May 8, 2019 serve responses or objections to any additional
       discovery requests and shall exchange all documents that are responsive to any
       additional written discovery requests.

    4. Each party may take two party depositions, to be completed by June 7, 2019.


       A. Each deposition shall, absent agreement of the parties, be limited to 6 hours, per
          witness.

       B. The parties shall cooperate in good faith to set mutually convenient dates,
          locations, and times for any depositions taken pursuant hereto.

    5. Pre-Hearing Order No. 1 is amended as follows: all fact discovery shall close on June
       17, 2019.

    6. Expert discovery shall be established at a later time after the resolution of any
       dispositive motions as set forth in paragraph 8 below so long as no such disposition
       resolves the entire claim. If no dispositive motion is submitted or is permitted to be
       submitted by March 7, 2019, the parties shall submit a proposed schedule for expert
       discovery by March 18, 2019.

    7. The parties will exchange an initial list of all witnesses, including percipient, expert,
       and impeachment witnesses, and all documents the parties intend to use at the
       hearing, and submit those lists to the Arbitrator no later than fourteen business days
       prior to the hearing date.


       NOTE: THE PARTIES ARE CAUTIONED THAT BY DEFERRING THE DATE THE
       WITNESS LISTS ARE SUBMITTED TO THE ARBITRATOR, THEY DELAY ANY
       FURTHER DISCLOSURE BY THE ARBITRATOR THAT MIGHT BE WARRANTED
       BY THOSE LISTS UNTIL VERY CLOSE TO THE HEARING DATE.


    8. Any request by either party or both parties to file a dispositive motion shall be
       submitted by March 7, 2019. Thereafter, any party seeking to submit a dispositive
       motion must, in addition to the matters set forth in subpart A below, establish good
       cause for not having submitted the request earlier.

       A. Any such request shall briefly set forth the scope of the proposed motion and the
          reasons why permitting the motions are in the interests of justice and consistent
          with the objectives of arbitration.

       B. If the request is not joint, any opposition to the request shall be submitted within
          five business days of the request.

       C. If any dispositive motion is permitted to be filed, it must be filed within the time
          specified in the order permitting its filing. Upon receipt of an order permitting the
          filing of a dispositive motion, counsel will promptly meet and confer regarding a
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          mutually agreeable briefing schedule and the effect of said briefing schedule on
          any discovery or other deadlines.

       D. The parties will, within ten business days after any determination of a request to
          submit a dispositive motion, submit a further joint procedural stipulation with the
          proposed briefing schedule for any dispositive motion permitted to be submitted
          and, regardless whether a dispositive motion is permitted to be filed, any requests
          to modify any discovery or other deadlines set forth in this Order.


       E. For the guidance of the parties, it should be understood that while occasionally
          permitted, dispositive motions are generally disfavored, as they risk denying a
          party the right to a hearing on the evidence. Therefore, a dispositive motion will be
          permitted only if it can be resolved without having to make a determination on the
          merits of the claim, or based upon undisputed evidence, there is no conceivable
          way the Claimant can satisfy her burden of proof at a hearing, keeping in mind the
          liberal view arbitrators have of the laws of evidence and civil procedure. Potential
          candidates for dispositive motions in arbitration include affirmative defenses (e.g.
          the statute of limitations, standing or capacity, possession of a required license,
          etc.) or a claim for a particular form of damages, like punitive damages in a

          in determining whether to submit a dispositive motion or, if one is submitted, its
          scope and objective. To be blunt, the experience of this Arbitrator is that the vast
          majority of dispositive motions in arbitration are denied.

    9. Upon the ruling on any dispositive motion made that does not result in the final
       determination of this claim or, if no such motion is made, upon the conclusion of the
       prehearing discovery period set above, the parties and the Arbitrator shall conduct
       another prehearing telephonic conference to be arranged by the AAA on a date
       convenient to the parties and the Arbitrator at which a hearing date shall be set and
       any other order regarding the matter shall be made.

    10. All communications with the Arbitrator shall be made to the AAA and not directly to
        the Arbitrator except in case of an emergency where there is, as a practical matter,
        insufficient time to first notify the AAA.

    Dated: February 21, 2019




                                             ___________________________________
                                                Alan R. Jampol, Arbitrator
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                                  Case Number 01-18-0003-7337

                                       Veronica McCluskey

                                              Claimant

                                                  v.

                                            Airbnb, Inc.

                                            Respondent

                                  PRE-HEARING ORDER NO. 3



motion for a protective order and to establish a briefing schedule for the dispositive motions
each party intends to bring, the submission of which was approved by the Arbitrator at the joint
request of the parties. Michael Mogan appeared for Claimant and Jacqueline Young appeared
for Respondent. Good cause appearing,

      IT IS HEREBY ORDERED:

      1. The briefing and hearing schedule for the dispositive motions shall be as follows:

           A. The motions shall be filed on before April 30, 2019.

           B. Responses shall be filed on or before May 21, 2019.

           C. Replies, if any, shall be filed on or before June 4, 2019.

           D. The hearing shall be on June 11, 2019 at 1:30 PM and shall be conducted by
              telephone conference to be arranged by the AAA.

           E. Memoranda in support of and in opposition to the motions shall be no longer than
              fifteen pages and replies shall be no longer than ten pages. These limits may be
              modified by agreement of the parties without further approval by the Arbitrator.

      2.                                                          the order shall be in a separate
           document basically in the form of the proposed order submitted by Respondent with
           modifications as discussed in the telephonic hearing or determined by the Arbitrator
           to be appropriate.

           //
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     3. To the extent not superseded by the provisions of paragraph 1 above, Prehearing
        Order No. 2 remains in full force and effect.

     Dated: March 26, 2019




                                            ___________________________________
                                               Alan R. Jampol, Arbitrator
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                                  Case Number 01-18-0003-7337

                                       Veronica McCluskey

                                             Claimant

                                                 v.

                                            Airbnb, Inc.

                                            Respondent

                                  PRE-HEARING ORDER NO. 4
                                       Protective Order


       Respondent Airbnb, Inc. has requested a protective order in connection with discovery in
this matter. The request was addressed by the parties in a telephonic prehearing conference on
March 19, 2019. After reviewing Respondent s application, Claimant s opposition, and
Respondent s reply, and finding that good cause exists for the issuance of a protective order, as
the voluntary exchange of documents in connection with such discovery as may be permitted in
this matter is likely to involve confidential, proprietary, trade secret, private or privileged
information requiring special protection from public disclosure and from use for any purpose
other than this arbitration,

      IT IS HEREBY ORDERED:

     1.       In this Protective Order, the words set forth below shall have the following
meanings:

         a.                                   -entitled proceeding (Case No. 01-18-0003-7337).

         b.   Arbitrator          Alan R. Jampol, or any other arbitrator or American Arbitration
                                   personnel to which this Proceeding may be assigned.

         c.                                                                         a Designating
              Party who believes in good faith that such information is entitled to confidential
              treatment under applicable law.

         d.                                                                 r Information as

              Protective Order.

         e.                        means the Party that designates Materials as
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            f.                                                              l, divulge, give, or make
                 available Confidential Materials, or any part thereof, or any information contained
                 therein.

            g.                                                                          terms
                 are defined by California Evidence Code Sections 250, 255, and 260, which have
                 been produced in this Proceeding by any person, and (ii) any copies,
                 reproductions, or summaries of all or any part of the foregoing.

            h.

            i.                                     s, declarations or other testimony taken or used
                 in this Proceeding.

    2.                                                                          any Documents,
Testimony or Information that the Designating Party in good faith believes to contain non-public
information that is entitled to confidential treatment under applicable law.

    3. The entry of this Protective Order does not alter, waive, modify, or abridge any right,
privilege or protection otherwise available to any Party with respect to the discovery of matters,
                                                                   -client privilege, the attorney
                                                                                 such assertion.

   4. Any Documents, Testimony or Information to                                            be
clearly so designated before the Document, Testimony or Information is Disclosed or produced.
The Parties may agree that the case name and number are to be part of the
designation.                    designation should not obscure or interfere with the legibility of
the designated Information.

       a.    For Documents (apart from transcripts of depositions or the arbitral hearing), the
                                                                           Document
containing such designated Confidential Material.

       b.        For Testimony given in depositions the Designating Party may either:

                 i.     identify on the record, before the close of the deposition, all
                        Testimony, by specifying all portions of the Testimony that qualify as


                 ii.    designate the entirety of the Testimony at the deposition as
                        (before the deposition is concluded) with the right to identify more specific
                        portions of the Testimony as to which protection is sought within 30 days
                        following receipt of the deposition transcript. In circumstances where
                        portions of the deposition Testimony are designated for protection, the
                        transcript pages containing
                        bound by the stenographer, who must affix to the top of each page the
                                                                 the Designating Party.
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        c.     For Information produced in some form other than Documents, and for any other
tangible items, including, without limitation, compact discs or DVDs, the Designating Party must
affix in a prominent place on the exterior of the container or containers in which the Information
                                                                                        warrant
protection, the Desi
portions.

   5. The inadvertent production by any of the undersigned Parties or non-Parties to the
Proceedings of any Document, Testimony or Information during discovery in this Proceeding


production. In the event that any Document, Testimony or Information that is subject to a
                              inadvertently produced without such designation, the Party that
inadvertently produced the document shall give written notice of such inadvertent production
within twenty (14) days of discovery of the inadvertent production, together with a further copy
of the

that received the inadvertently produced Document, Testimony or Information shall promptly
destroy the inadvertently produced Document, Testimony or Information and all copies thereof,
or, at the expense of the producing Party, return such together with all copies of such
Document, Testimony or Information to counsel for the producing Party and shall retain only the
                           Materials. Should the receiving Party choose to destroy such
inadvertently produced Document, Testimony or Information, the receiving Party shall notify the
producing Party in writing of such destruction within ten (7) days of receipt of written notice of
the inadvertent production. This provision is not intended to apply to any inadvertent production
of any Information protected by attorney-client or work product privileges. In the event that this
provision conflicts with any applicable law regarding waiver of confidentiality through the
inadvertent production of Documents, Testimony or Information, such law shall govern.

   6. In the event that counsel for a Party receiving Documents, Testimony or Information in

such items, said counsel shall advise counsel for the Designating Party, in writing, of such
objections, the specific Documents, Testimony or Information to which each objection pertains,
and
Counsel for the Designating Party shall have thirty (30) days from receipt of the written
Designation Objections to either (a) agree in writing to de-designate Documents, Testimony or
Information pursuant to any or all of the Designation Objections and/or (b) file a request with the
Arbitrator seeking to uphold any or all designations on Documents, Testimony or Information
addressed by the Designation Objections                       Request
the Designation Request by the Arbitrator, any and all existing designations on the Documents,
Testimony or Information at issue in such Designation Request shall remain in place. The
Designating Party shall have the burden on any Designation Request of establishing the
                                                                        ignation Objections are
neither timely agreed to nor timely addressed in the Designation Request, then such
Documents, Testimony or Information shall be de-designated in accordance with the
Designation Objection applicable to such material.
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   7. Access to an                                                                           shall
be permitted only to the following persons:

       a.     the Arbitrator;

       b.     Attorneys of record in the Proceedings and their affiliated attorneys, paralegals,
clerical and secretarial staff employed by such attorneys who are actively involved in the
Proceedings and are not employees of any Party.

       c.      In-house counsel to the undersigned Parties and the paralegal, clerical and
secretarial staff employed by such counsel. Provided, however, that each non-lawyer given
access to Confidential Materials shall be advised that such Materials are being Disclosed
pursuant to, and are subject to, the terms of this Protective Order and that they may not be
Disclosed other than pursuant to its terms;

       d.     the non-designating Parties, including their officers, directors, partners, members,
and employees to whom Disclosure is reasonably necessary for the prosecution and defense of
this Proceeding, providing that prior to the Disclosure of Confidential Materials to any such Party
or counsel for the Party making the Disclosure shall deliver a copy of this Protective Order to
such person, shall explain that such person is bound to follow the terms of such Order, and
shall secure the signature of such person on a statement in the form attached hereto as Exhibit
A;

      e.     stenographers in this Proceeding (whether at depositions, hearing, or any other
proceeding);

      f.     any deposition or hearing witness in the Proceeding who previously has had
access to the Confidential Materials, or who is currently or was previously an officer, director,
partner, member, employee or agent of an entity that has had access to the Confidential
Materials;

      g.      any deposition or hearing witness in the Proceeding who previously did not have
access to the Confidential Materials; provided, however, that each such witness given access to
Confidential Materials shall be advised that such Materials are being Disclosed pursuant to, and
are subject to, the terms of this Protective Order and that they may not be Disclosed other than
pursuant to its terms;

       h.      outside experts or expert consultants consulted by the undersigned Parties or their
counsel in connection with the Proceeding, whether or not retained to testify at a hearing;
provided, however, that prior to the Disclosure of Confidential Materials to any such expert or
expert consultant, counsel for the Party making the Disclosure shall deliver a copy of this
Protective Order to such person, shall explain its terms to such person, and shall secure the
signature of such person on a statement in the form attached hereto as Exhibit A. It shall be the
obligation of counsel, upon learning of any breach or threatened breach of this Protective Order
by any such expert or expert consultant, to promptly notify counsel for the Designating Party of
such breach or threatened breach; and any other person that the Designating Party agrees to in
writing.
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    8. Confidential Materials shall be used by the persons receiving them only for the purposes
of preparing for, conducting, participating in the conduct of, and/or prosecuting and/or defending
the Proceeding, and not for any business or other purpose whatsoever.


   9. Any Party to the Proceeding (or other person subject to the terms of this Protective
Order) may ask the Arbitrator, after appropriate notice to the other Parties to the Proceeding, to
modify or grant relief from any provision of this Protective Order.

   10. Complying with the terms of this Protective Order shall not:

      a.      operate as an admission by any person that any particular Document, Testimony
                                                                                     confidential
or competitively sensitive business, commercial, financial or personal information; or

      b.     prejudice in any way the right of any Party (or any other person subject to the
             terms of this Protective Order):

             i.     to seek a determination by the Arbitrator of whether any particular

                    the terms of this Protective Order; or

             ii.    to seek relief from the Arbitrator on appropriate notice to all other Parties to
                    the Proceeding from any provision(s) of this Protective Order, either
                    generally or as to any particular Document, Material or Information.

   11. Any Information that may be produced by a non-Party witness in discovery in the
Proceeding pursuant to subpoena or otherwise may be designated by such non-Party as
                                                                                       a non-Party
shall have the same force and effect, and create the same duties and obligations, as if made by
one of the undersigned Parties hereto. Any such designation shall also function as a consent
by such producing Party to the authority of the Arbitrator in the Proceeding to resolve and
conclusively determine any request or other application made by any person or Party with
respect to such designation, or any other matter otherwise arising under this Protective Order.

     12. If any person subject to this Protective Order who has custody of any Confidential
                                                                                         other
person or entity demanding production of Confidential Materials, the recipient of the Subpoena
shall promptly give notice of the same by electronic mail transmission, followed by either
express mail or overnight delivery to counsel of record for the Designating Party, and shall
furnish such counsel with a copy of the Subpoena. Upon receipt of this notice, the Designating
Party may, in its sole discretion and at its own cost, move to quash or limit the Subpoena,
otherwise oppose production of the Confidential Materials, and/or seek to obtain confidential
treatment of such Confidential Materials from the subpoenaing person or entity to the fullest
extent available under law. The recipient of the Subpoena may not produce any Documents,
Testimony or Information pursuant to the Subpoena prior to the date specified for production on
the Subpoena.
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   13. Nothing in this Protective Order shall be construed to preclude either Party from
asserting in good faith that certain Confidential Materials require additional protection. The
Parties shall meet and confer to agree upon the terms of such additional protection.


   14. If, after execution of this Protective Order, any Confidential Materials submitted by a
Designating Party under the terms of this Protective Order is Disclosed by a non-Designating
Party to any person other than in the manner authorized by this Protective Order, the non-
Designating Party responsible for the Disclosure shall bring all pertinent facts relating to the
Disclosure of such Confidential Materials to the immediate attention of the Designating Party.

     15. This Protective Order is without prejudice to the right of any Party to knowingly waive
the applicability of this Protective Order to any Confidential Materials designated by that Party.
If the Designating Party uses Confidential Materials in a non-Confidential manner, then the
Designating Party shall advise that the designation no longer applies.

  16. The Parties shall meet and confer regarding the procedures for use of Confidential
Materials at the arbitral hearing and shall move the Arbitrator for entry of an appropriate order.

   17. Nothing in this Protective Order shall affect the admissibility of Confidential Materials.

    18. This Protective Order shall continue to be binding after the conclusion of this Proceeding
and all subsequent proceedings arising from this Proceeding, except that a Party may seek the
written permission of the Designating Party or may move the Arbitrator for relief from the
provisions of this Protective Order. To the extent permitted by law, the Arbitrator shall retain
jurisdiction to enforce, modify, or reconsider this Protective Order, even after the Proceeding is
terminated.

    19. Upon written request made within thirty (30) days after the settlement or other
termination of the Proceeding, the Parties shall have thirty (30) days to either

       (a) promptly return to counsel for each Designating Party all Confidential Materials and
all copies thereof (except that counsel for each Party may maintain in its files, in continuing
compliance with the terms of this Protective Order, all work product, and one copy of each
pleading filed with the Arbitrator [and one copy of each deposition together with the exhibits
marked at the deposition)]*,

        (b) agree with counsel for the Designating Party upon appropriate methods and
certification of destruction or other disposition of such Confidential Materials, or

        (c) as to any Documents, Testimony or other Information not addressed by sub-
paragraphs (a) and (b) of this paragraph 19, file a request with the Arbitrator seeking an order
regarding proper preservation of such Materials. To the extent permitted by law the Arbitrator
shall retain continuing jurisdiction to review and rule upon the request referred to in sub-
paragraph (c) herein.

   20. Upon rendition of the Award in this matter, the Arbitrator shall promptly dispose of any
documents produced by either party whether or not marked Confidential unless, prior to the
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issuance of the Award, one of the parties specifically and in writing requests return of one or
more, or all, document(s) in the Arbitrator s possession. Upon such request, the requesting
party shall promptly arrange and pay for the transfer of the requested document(s) to that party.


Dated: May 6, 2019




                                                       Alan R. Jampol, Arbitrator
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EXHIBIT A
CERTIFICATION RE CONFIDENTIAL DISCOVERY MATERIALS
I hereby acknowledge that I,                                             [NAME],
                [POSITION AND EMPLOYER], am about to receive Confidential Materials
supplied in connection with the Proceeding, AAA Case No. 01-18-0003-7337. I certify that I
understand that the Confidential Materials are provided to me subject to the terms and
restrictions of the Protective Order in this Proceeding. I have been given a copy of the
Protective Order; I have read it, and I agree to be bound by its terms.
I understand that Confidential Materials, as defined in the and Protective Order, including any
notes or other records that may be made regarding any such materials, shall not be Disclosed
to anyone except as expressly permitted by the Protective Order. I will not copy or use, except
solely for the purposes of this Proceeding, any Confidential Materials obtained pursuant to this
Protective Order, except as provided therein or otherwise ordered by the Arbitrator in the
Proceeding.
I further understand that I am to retain all copies of all Confidential Materials provided to me in
the Proceeding in a secure manner, and that all copies of such Materials are to remain in my
personal custody until termination of my participation in this Proceeding, whereupon the copies
of such Materials will be returned to counsel who provided me with such Materials.
I declare under penalty of perjury, under the laws of the State of California, that the foregoing is
true and correct. Executed this     day of                 , 2019, at                         .
DATED:                                      BY:
                                                   Signature

                                                 Title

                                                 Address

                                                 City, State, Zip

                                                 Telephone Number


       Dated: March 26, 2019




                                                 ___________________________________
                                                    Alan R. Jampol, Arbitrator
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                                Case Number 01-18-0003-7337

                                      Veronica McCluskey

                                            Claimant

                                                v.

                                           Airbnb, Inc.

                                           Respondent

                                 PRE-HEARING ORDER NO. 5


      On June 11, 2019, the parties appeared by telephone for a prehearing conference to
determine the status of the pending dispositive motions. Michael Mogen appeared for Claimant
and Jacqueline Young and Adriana Rubino appeared for Respondent. Pursuant to the
agreement of the parties, and good cause appearing,

      IT IS HEREBY ORDERED:

      1. Claimant shall have until June 18, 2019 to submit directly to the Arbitrator a reply in
         support of her dispositive motion. That motion shall thereupon be submitted for
         decision based on the papers submitted, without a hearing.

      2. Claimant withdraws her claim of violation of the Consumer Legal Remedy Act without
         prejudice.

      3. The Arbitrator will issue a ruling on Claimant s dispositive motion on or before June
         27, 2019 and will be unavailable after that until July 11.


      4. Further action on the dispositive motion of Respondent is deferred pending a ruling
         on Claimant s dispositive motion.


         A. If that motion is granted, the parties shall meet, confer, and advise the Arbitrator
            as to what should be done regarding closing or dismissing the arbitration.

         B. If that motion is denied, the parties shall meet and confer as to further action on
            Respondent
            any. Either party may request a prehearing telephonic conference to deal with any
            matter not resolved by agreement.

      5. Section II.D. of Respondent s dispositive motion will be disregarded.
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     6. The parties should from this point forward communicate with the Arbitrator directly
        rather than through the AAA, but copies of any communications with the Arbitrator
        shall be provided to the other party and to the AAA.


     Dated: June 11, 2019




                                              ___________________________________
                                                 Alan R. Jampol, Arbitrator
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                                Case Number 01-18-0003-7337

                                     Veronica McCluskey

                                           Claimant

                                               v.

                                          Airbnb, Inc.

                                          Respondent

                                PRE-HEARING ORDER NO. 7


       On August 7, 2019, the parties appeared by telephone for the hearing on Respondent s
dispositive motion. Michael Mogen appeared for Claimant and Michele Floyd appeared for
Respondent. After discussion with counsel, it appears best to allow Claimant to submit a
supplemental brief addressing specifically Version 6 of Respondent s Terms of Service ( V6 ) to
eliminate any confusion as to the issues to be decided in the motion. Therefore, with the
agreement of counsel and good cause appearing,

      IT IS HEREBY ORDERED:

      1. Claimant shall have until September 10, 2019 to submit directly to the Arbitrator a
         supplemental brief addressing only V6 and any issues arising from V6 that are
         material to the motion.

      2. Respondent shall have until September 24, 2019 to submit directly to the Arbitrator a
         reply to the supplemental brief.

      3. A continued hearing on Respondent s dispositive motion shall be held by telephone
         on October 10, 2019 at 11:00 AM. The AAA shall arrange the conference call.

      4. The supplemental brief and reply shall deal only with V6 and matters unique to V6
         and not Version 7 or any matter not particularly applicable to V6.


      5. The parties are free to address any issues they wish as to any aspect of the motion at
         the telephonic hearing. However, counsel have done an excellent job on briefing, and
         in this kind of motion, the decision usually rests primarily, and often solely, on the
         papers submitted. Thus, counsel are urged to direct their comments in the telephonic
         hearing to those aspects of the motion that they feel should be highlighted or
         emphasized or were in some manner unclear or ambiguous. However, counsel will
         not be limited as to what they may address in the hearing.
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     6. Although entirely voluntary, it might be of help for Claimant to submit with her
        supplemental brief a statement of the material facts she believes are disputed and
        require the denial of the motion along with the evidence supporting that fact. As
        discussed, these should not be minor facts or facts that are not truly important
        (keeping mind that if there is an evidentiary hearing, that kind of fact will in all
        likelihood not play a role, or at least not a significant role, in the decision), but the key
        facts upon which the claim is likely to turn. If Claimant does so, Respondent may, but
        is not required to, submit its response, stating why a claimed disputed material fact is
        not material, or why it is not really disputed, or why the evidence submitted by
        Claimant does not support the claimed fact. As with oral argument, the effort should
        be to focus on the key facts.

     Dated: August 7, 2019




                                                 ___________________________________
                                                    Alan R. Jampol, Arbitrator
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